             Case 2:16-cv-04786-NIQA Document 97 Filed 08/15/18 Page 1 of 1
                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GORDON ROY PARKER                                        CIVIL ACTION
         Plaintiff, prose
                                                         N0.16-4786
              v.

PAYPAL, INC., et al.
          Defendant

                                        ORDER

       AND NOW, this 15th day of August 2018, in light of Plaintiffs voluntary dismissal of all

remaining defendants, [ECF 94], the Clerk of Court is directed to mark this matter CLOSED.


                                           BY THE COURT:


                                           Isl Nitza I Quinones Alejandro
                                           NITZA I. QUINONES ALEJANDRO
                                           Judge, United States District Court
